                                               Case 8:20-cv-02398-JVS-DFM Document 78 Filed 02/04/22 Page 1 of 17 Page ID #:1404




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                                                                   Telephone: 714 445-1000
                                                                 5 Facsimile: 714 445-1002
                                                                 6 Counsel for Jeffrey Brandlin, Receiver
                                                                 7
                                                                                                UNITED STATES DISTRICT COURT
                                                                 8
                                                                                 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                 9
                                                                10
                                                                   SECURITIES AND EXCHANGE                                  Case No. SACV20-02398-
                                                                11 COMMISSION,                                              JVS(DFMx)
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                            3200 Park Center Drive, Suite 250




                                                                12                      Plaintiff,                          FIRST INTERIM APPLICATION
                               Costa Mesa, California 92626




                                                                                                                            FOR APPROVAL OF FEES AND
                                                                13           v.                                             COSTS OF:
                                                                14 JUSTIN ROBERT KING; AND                                  (1) JEFFREY BRANDLIN AND
                                                                   ELEVATE INVESTMENTS LLC,                                     BRANDLIN & ASSOCIATES,
                                                                15                                                              RECEIVER, AND
                                                                             Defendants,
                                                                16                                                          (2) SMILEY WANG-EKVALL, LLP,
                                                                   SHANNON LEIGH KING,                                          GENERAL COUNSEL TO THE
                                                                17                                                              RECEIVER
                                                                             Relief Defendant.
                                                                18                                                          DATE:         March 7, 20221
                                                                                                                            TIME:         1:30 p.m.
                                                                19                                                          CTRM:         10C
                                                                                                                            JUDGE:        James V. Selna
                                                                20
                                                                21 TO THE HONORABLE JAMES V. SELNA, UNITED STATES DISTRICT
                                                                22 JUDGE, AND THE PARTIES TO THIS ACTION:
                                                                23           Jeffrey Brandlin and Brandlin & Associates, the permanent receiver
                                                                24 ("Receiver") appointed over Elevate Investments LLC and its subsidiaries
                                                                25
                                                                26   1
                                                                       At present, the Court is not conducting in-person hearings. If appearances at the hearing are required,
                                                                     they are likely to be telephonic or video appearances only.
                                                                27
                                                                28

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                                                                 1 and affiliates ("Elevate") and Smiley Wang-Ekvall, LLP, general counsel to
                                                                 2 the Receiver (the "Firm"), submit their First Interim Application for Approval
                                                                 3 of Fees and Costs of (1) Jeffrey Brandlin and Brandlin & Associates,
                                                                 4 Receiver, and (2) Smiley Wang-Ekvall, LLP, General Counsel to the
                                                                 5 Receiver for the period of December 28, 2020, through October 31, 2021
                                                                 6 (the "Application"), as required by the Order Appointing Receiver (the
                                                                 7 "Receiver Order"). Through the application, the Receiver is seeking
                                                                 8 approval of $70,837.50 in fees and $110.29 in expenses, and the Firm is
                                                                 9 seeking approval of $45,179.00 in fees and $3,600.50 in expenses. The
                                                                10 Receiver and the Firm are requesting an order authorizing the Receiver to
                                                                11 pay, on an interim basis, 80% of the fees and 100% of the expenses
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                                                                12 incurred. The Receiver and the Firm shared this Application with the
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                                                                13 Securities and Exchange Commission ("SEC") prior to its filing with the
                                                                14 Court and are informed that the SEC has no objection to the relief sought.
                                                                15
                                                                16 I.        BACKGROUND
                                                                17           The SEC commenced this civil enforcement action on December 28,
                                                                18 2020, seeking the appointment of a temporary receiver pending a hearing on
                                                                19 a motion for a preliminary injunction. The Court appointed the Receiver as
                                                                20 the temporary receiver on December 28, 2020, simultaneously issuing a
                                                                21 temporary restraining order and an asset freeze order. The Receiver's
                                                                22 appointment was made permanent by an order entered on January 19, 2021
                                                                23 (the "Receiver Order"). The Court approved the Receiver's retention of the
                                                                24 Firm as his counsel and Brandlin & Associates as his forensic accountants
                                                                25 by an order entered on February 16, 2021.
                                                                26           The Receiver and the Firm went to Elevate's office on December 28,
                                                                27 2020, in order to secure the books and records, preserve electronic data,
                                                                28 and to meet with Elevate's principal, Justin King, and his wife. Concurrent

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                                                                 1 with gaining control of the business, the Receiver's team gave notice to the
                                                                 2 financial institutions holding accounts belonging to Elevate and the Kings of
                                                                 3 his appointment and the order freezing accounts. The Receiver also
                                                                 4 requested documents for those accounts in order to commence the forensic
                                                                 5 accounting process and to identify investors. After reviewing Elevate's
                                                                 6 investment account at Charles Schwab and understanding the nature of the
                                                                 7 investments held in that account, the Receiver instructed Charles Schwab to
                                                                 8 liquidate the investments and obtained turnover of the proceeds, which
                                                                 9 totaled $1,581,942. There are several additional accounts held by the Kings
                                                                10 that remain frozen and that the Receiver intends to seek to bring into the
                                                                11 receivership estate. The Receiver also sent an email to investors regarding
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                                                                12 the receivership, established a website to provide information with investors,
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                                                                13 and fielded inquiries from investors.
                                                                14           In the ensuing months, the Receiver focused on the forensic
                                                                15 accounting so that he could quantify how much was raised from investors,
                                                                16 how much was distributed to investors, how much was lost in the market,
                                                                17 and how much was dissipated on personal expenses of the Kings. The
                                                                18 Receiver is nearly complete with this analysis.
                                                                19           Based on the analysis to date, it appears that Elevate took in
                                                                20 $8,298,985 from investors, distributed $409,525 to investors, lost
                                                                21 $5,534,576 in the market, and dissipated approximately $2,312,678 of
                                                                22 investor funds. These amounts remain subject to change because although
                                                                23 the forensic accounting is nearing completion, it is not yet complete. The
                                                                24 Receiver is using the information obtained to identify potential clawback
                                                                25 actions, mostly against third parties who received payments from Elevate for
                                                                26 personal expenses of the Kings. The Receiver also expects to file a motion
                                                                27 with the Court in the near future to bring the accounts held in the name of
                                                                28 either or both of the Kings into the receivership estate because investor

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                                                                 1 money went through them. The Receiver is also preparing a motion for
                                                                 2 approval of a procedure for investors and creditors to file claims with the
                                                                 3 receivership estate.
                                                                 4           As of October 31, 2021, and after paying ordinary costs of the
                                                                 5 receivership estate, the Receiver is holding $1,580,216.99 as reflected in the
                                                                 6 Standardized Fund Accounting Report attached as Exhibit 1.
                                                                 7           A.   Summary of Fees and Costs Sought by the Receiver
                                                                 8           During the Application period and before providing a total net discount
                                                                 9 17%, the Receiver incurred fees of $85,632.50 and costs of $110.29. After
                                                                10 application of the discount of 17%, the fees are $70,837.50 and it is the
                                                                11 discounted amount for which the Receiver seeks allowance on an interim
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                                                                12 basis. The Receiver seeks payment at this time of 80% of the allowed fees
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                                                                13 and 100% of the allowed costs and will seek payment of the 20% holdback
                                                                14 at a later point in time.
                                                                15          RECEIVER AND BRANDLIN & ASSOCIATES
                                                                16                                                                  Discounted
                                                                             Category               Hours      Gross Amount          Amount
                                                                17    Administrative                 13.60         $ 7,190.00          $ 5,834.50
                                                                18    Court Appearance                6.95            4,517.50           3,614.00
                                                                      Onsite Fieldwork                7.20            4,680.00           3,744.00
                                                                19
                                                                      Asset Analysis/Forensic
                                                                20    Accounting                     144.30           58,415.00          48,606.00
                                                                      Investor Analysis/Claims        27.80           10,570.00           8,831.00
                                                                21
                                                                      Taxes and Other                   .40              208.00             208.00
                                                                22    TOTAL                          200.25          $85,632.50         $70,837.50
                                                                23
                                                                24           B.   Summary of Fees and Costs Sought by Smiley Wang-Ekvall,
                                                                25                LLP
                                                                26           During the Application period and applying a 10% discount to its
                                                                27 standard hourly rates, the Firm incurred fees of $45,179.00 and costs of
                                                                28 $3,600.50. The breakdown by category is as follows:

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                                                                 1                        SMILEY WANG-EKVALL, LLP
                                                                 2                   Category             Hours                               Amount
                                                                      Asset Analysis and Recovery              72.30                           $ 28,507.10
                                                                 3    Case Administration                      22.60                              9,974.10
                                                                 4    Litigation                               12.20                              6,697.80
                                                                 5    Fee Applications                           .30                                  0.00
                                                                      TOTAL                                $ 107.40                             $45,179.00
                                                                 6
                                                                 7           The Firm is seeking allowance on an interim basis of $45,179.00 in
                                                                 8 fees and $3,600.50 in costs and payment of 80% of the allowed fees and
                                                                 9 100% of the allowed costs from available funds. The Firm will seek payment
                                                                10 of the 20% holdback at a later point in time.
                                                                11
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                                                                12 II.       SUMMARY OF TASKS PERFORMED AND COSTS INCURRED
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                                                                13           A.   Brandlin & Associates Categories and Description of Work
                                                                14                1.    Administrative
                                                                15                [$5,834.50 in discounted fees for 13.60 hours of work; blended hourly rate:

                                                                16                $429.00]

                                                                17           The Receiver spent time in this category communicating with
                                                                18 investors, reviewing the motion for an order in aid of administration of the
                                                                19 receivership estate to retain professionals, and preparing the status report,
                                                                20 and communicating with the SEC regarding routine matters.
                                                                21                2.    Court Appearance
                                                                22                [$3,614.00 in discounted fees for 6.95 hours of work; blended hourly rate:

                                                                23                $520.00]

                                                                24           Initially, the SEC sought the appointment of the Receiver on a
                                                                25 temporary basis, pending a hearing on its motion for a preliminary injunction.
                                                                26 The Receiver submitted an initial status report with preliminary findings and
                                                                27 prepared for and attended the hearing on the motion for a preliminary
                                                                28 injunction and to make the appointment of the Receiver permanent. The

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                                                                 1 Receiver also incurred time in this category communicating with
                                                                 2 investigators regarding his findings to date.
                                                                 3                 3.    Onsite Fieldwork
                                                                 4                 [$3,744.00 in discounted fees for 7.20 hours of work; blended hourly rate:

                                                                 5                 $520.00]

                                                                 6           The Receiver incurred time in this category in connection with the
                                                                 7 takedown of Elevate's office the day that he was appointed as the temporary
                                                                 8 Receiver, reviewing the books and records, securing the electronic data, and
                                                                 9 communicating with the Kings.
                                                                10                 4.    Asset Analysis/Forensic Accounting
                                                                11                 [$48,606.00 in discounted fees for 144.30 hours of work; blended hourly
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                                                                12                 rate: $336.84]
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                                                                13           Not surprisingly, the bulk of the Receiver's time in this Application was
                                                                14 spent in connection with the forensic accounting. Elevate did not maintain
                                                                15 an accounting system, so the Receiver reconstructed the books and records
                                                                16 from bank and investment account records for nine bank accounts and
                                                                17 seven brokerage accounts. This process is time-consuming, but ensures an
                                                                18 accurate analysis. The Receiver then analyzed this data to determine the
                                                                19 sources of cash, its uses, what the net investments held by investors is
                                                                20 believed to be, and what potential additional sources of recovery there are.
                                                                21 Because the scant books and records that Elevate did maintain were
                                                                22 inaccurate, the Receiver also used these records to build a list of investors.
                                                                23 The results of the time spent in this category will pave the way for
                                                                24 identification of all assets and an ultimate distribution to investors and is one
                                                                25 of the core functions of a receivership.
                                                                26                 5.    Investor Analysis/Claims
                                                                27                 [$8,831.00 in discounted fees for 27.80 hours of work; blended hourly rate:

                                                                28                 $317.66]


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                                                                 1           Using the data gathered from the forensic accounting, the Receiver
                                                                 2 compiled a list of investors, the total amount of the investments they put in,
                                                                 3 identified distributions back to investors, and prepared a list of the net
                                                                 4 investments based on the books and records. The Receiver will use the
                                                                 5 results of this analysis to guide the claims procedure in this case.
                                                                 6                 6.    Taxes and Other
                                                                 7                 [$208.00 in fees for .40 hours of work; blended hourly rate: $520.00]

                                                                 8           The Receiver incurred a small amount of time in this category
                                                                 9 communicating with an accountant regarding Elevate's 2020 tax return.
                                                                10                 7.    Summary of the Receiver's Expenses Requested for
                                                                11                       Reimbursement
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                                                                12           The Receiver requests that the Court approve reimbursement of
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                                                                13 $110.29 for mileage expenses.
                                                                14           The Receiver's invoice for the Application period is attached as
                                                                15 Exhibit 2 and contains the information required by the SEC Receivership
                                                                16 Billing Guidelines.
                                                                17           B.    Smiley Wang-Ekvall Categories and Description of Work
                                                                18                 1.    Asset Analysis and Recovery
                                                                19                 [$28,507.10 in fees for 72.30 hours of work; blended hourly rate: $394.29]

                                                                20           During the Application Period, the bulk of the Firm's services were
                                                                21 incurred in connection with asset analysis and recovery, which is to be
                                                                22 expected in the beginning of a receivership case involving investment fraud.
                                                                23           In the first days of the case, the Firm assisted the Receiver with
                                                                24 gaining control of Elevate's office, its books and records, and electronic data
                                                                25 and access to accounts. The Firm also gave notice to financial institutions
                                                                26 of the asset freeze and the appointment of the Receiver. The Receiver
                                                                27 requested documents from the financial institutions so that the Receiver
                                                                28 could perform his forensic accounting and assisted the Receiver with the

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                                                                 1 liquidation of the investments held in Elevate's account with Charles
                                                                 2 Schwab. Because Elevate did not maintain an accounting system and
                                                                 3 appeared to have conducted its business primarily through email, the Firm
                                                                 4 also reviewed the Elevate Gmail account for pertinent information, including
                                                                 5 investor information and potential assets. As bank records were produced,
                                                                 6 the Firm reviewed them to identify questionable transactions that required
                                                                 7 further information in order to validate the transactions. The Firm prepared
                                                                 8 subpoenas based on this review to a number of third parties, and this helped
                                                                 9 to identify potential litigation targets. The Firm also reviewed the records to
                                                                10 identify other bank accounts for which documents needed to be obtained
                                                                11 and issued subpoenas for those documents. The work that the Firm
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                                                                12 provided in this category helped to ensure the accuracy of the forensic
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                                                                13 accounting and will yield results once the Receiver seeks authority to pursue
                                                                14 clawback actions.
                                                                15                2.    Case Administration
                                                                16                [$9,974.10 in fees for 22.60 hours of work; blended hourly rate: $441.33]

                                                                17           The Firm incurred time in this category reviewing background
                                                                18 information regarding Elevate's business and the claims being leveled
                                                                19 against it, identifying potential professionals with information, communicating
                                                                20 with investors, preparing the initial status report, redirecting Elevate's
                                                                21 website to the receivership website, preparing a letter to investors to provide
                                                                22 them with information about the receivership, returning the Elevate office to
                                                                23 the landlord, preparing notices of receivership for other districts where the
                                                                24 Receiver believed it might be possible assets were located in order to
                                                                25 ensure jurisdiction over those assets, and obtaining approval for the
                                                                26 retention of professionals, including the Firm, the firm that hosts the
                                                                27 receivership website, and the computer forensic consultant.
                                                                28

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                                                                 1           The Firm has not charged the estate for routine actions, including
                                                                 2 routine communications with investors, redirection of mail, or communicating
                                                                 3 with the website host to keep the receivership website updated.
                                                                 4                3.    Litigation
                                                                 5                [$6,697.80 in fees for 12.20hours of work; blended hourly rate: $549.00]

                                                                 6           Shortly after the Receiver was appointed, the Receiver learned from a
                                                                 7 few investors that Justin King was communicating with them and giving them
                                                                 8 inaccurate information about the receivership and Elevate's business. One
                                                                 9 investor was preparing to give Mr. King more money to invest. The Receiver
                                                                10 informed the SEC of these communications, which appeared to violate the
                                                                11 injunction issued by the Court. In addition, a law firm purporting to represent
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                                                                12 Elevate post-receivership filed an answer on Elevate's behalf without the
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                                                                13 Receiver's consent and was reluctant to withdraw it. The SEC prepared an
                                                                14 application for an order to show cause why Mr. King should not be held in
                                                                15 contempt for these issues, and the Firm incurred time preparing a
                                                                16 declaration in support of that application regarding the communications with
                                                                17 investors. The Court found Mr. King to be in contempt of its order and as a
                                                                18 remedy for the misstatements, ordered that the Receiver post the pleadings
                                                                19 explaining Mr. King's inaccuracies and a transcript of the contempt hearing
                                                                20 on the receivership website so that investors had accurate information. The
                                                                21 Court also ordered the law firm to withdraw Elevate's answer, which it did.
                                                                22                4.    Fee Application
                                                                23                [$0.00 in fees for .30 hours of work; blended hourly rate: $0.00]

                                                                24           The Firm incurred a small amount of time beginning to prepare this fee
                                                                25 application during the Application period, but does not charge the
                                                                26 receivership estate for this work, as required by the SEC's Billing Guidelines.
                                                                27
                                                                28

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                                                                 1
                                                                 2                 5.    Summary of Expenses Requested for Reimbursement
                                                                 3           The Firm requests that the Court approve reimbursement of $3,600.50
                                                                 4 in out-of-pocket costs. The itemization of the expenses is summarized
                                                                 5 below by category.
                                                                 6               Attorney Service                                      $3,199.31
                                                                                 Photocopies                                               97.20
                                                                 7               Facsimile                                                  2.20
                                                                                 Mailing/Postage                                          136.54
                                                                 8               Filing Fees                                               49.00
                                                                                 Pacer Online Research                                    102.33
                                                                 9               Travel/Lodging                                            13.92
                                                                                 TOTAL                                                 $3,600.50
                                                                10
                                                                11
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                                                                             The bulk of the fees were incurred in connection with the recording of
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                                                                12 the Receiver Order in the districts where the Receivership Defendants own
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                                                                13 property, in connection with the expedited notice given to financial
                                                                14 institutions about the appointment of the Receiver and the freeze of all
                                                                15 assets, and the service of subpoenas for books and records.
                                                                16           The Firm's invoice for the First Application period is attached as
                                                                17 Exhibit 3 and contains the information required by the SEC Receivership
                                                                18 Billing Instructions.
                                                                19
                                                                20 III.      THE FEES AND COSTS ARE REASONABLE AND SHOULD BE
                                                                21           ALLOWED
                                                                22           It is a general rule that the fees and expenses of a receivership are a
                                                                23 charge against the property administered. See Gaskill v. Gordon, 27 F.3d
                                                                24 248, 251 (7th Cir. 1994). These expenses include the fees and expenses of
                                                                25 the Receiver and of his or her professionals. Decisions about the timing and
                                                                26 amount of an award are committed to the sound discretion of the Court. See
                                                                27 SEC v. Elliot, 953 F.2d 15690, 1577 (11th Cir. 1992).
                                                                28

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                                                                 1           In determining whether to allow fees, courts consider "the time, labor
                                                                 2 and skill required . . . in the proper performance of the duties imposed by the
                                                                 3 court upon the receivers, the fair value of such time, labor and skill
                                                                 4 measured by conservative business standards, the degree of activity,
                                                                 5 integrity and dispatch with which the work is conducted and the result
                                                                 6 obtained." Coskery v. Roberts & Mander Corp., 200 F.2d 150, 154 (3d Cir.
                                                                 7 1952). No single factor is dispositive and a reasonable fee is based on all of
                                                                 8 the circumstances of the receivership.
                                                                 9           The services provided during the Application period will pave the way
                                                                10 for the successful and efficient administration of this receivership estate.
                                                                11 The forensic accounting is nearly complete, and the Receiver has identified
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                                                                12 how much money was raised from investors, returned to investors, lost in
                               Costa Mesa, California 92626




                                                                13 the market, and dissipated on non-business expenses. This work will
                                                                14 enable to the Receiver to pursue additional recoveries for the estate and to
                                                                15 eventually make a distribution to investors. Both the Receiver and the Firm
                                                                16 have endeavored to staff this case appropriately, utilizing staff with lower
                                                                17 hourly rates as much as possible. In addition, both the Receiver and the
                                                                18 Firm have discounted their normal hourly rates—the Receiver by 15% and
                                                                19 the Firm by 10%.
                                                                20           The Receiver and the Firm seek payment of 80% of the fees incurred
                                                                21 on an interim basis in recognition of the reality that their work is continuing.
                                                                22 Payment of the holdback will be sought at the end of the case.
                                                                23
                                                                24 IV.       CONCLUSION
                                                                25           WHEREFORE, the Firm respectfully requests that this Court enter its
                                                                26 order:
                                                                27
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                                                                                                             11                        FEE APPLICATION
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                                                                 1           1.   Allowing $70,837.50 in fees and $110.29 in expenses to the
                                                                 2 Receiver on an interim basis for the period of December 28, 2020, through
                                                                 3 October 31, 2021;
                                                                 4           2.   Allowing $45,179.00 in fees and $3,600.50 in expenses to the
                                                                 5 Firm on an interim basis for the period of December 28, 2020, through
                                                                 6 October 31, 2021;
                                                                 7           3.   Authorizing the Receiver to pay 80% of the allowed fees and
                                                                 8 100% of the allowed expenses from available funds, with payment of the
                                                                 9 amount held back to be sought at a later date; and
                                                                10           4.   For such further relief as the Court may deem necessary and
                                                                11 appropriate.
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                                                                12
                               Costa Mesa, California 92626




                                                                13
                                                                     DATED: February 4, 2022          Respectfully submitted,
                                                                14
                                                                15                                    SMILEY WANG-EKVALL, LLP
                                                                16
                                                                17
                                                                                                      By:       /s/ Kyra E. Andrassy
                                                                18                                          KYRA E. ANDRASSY
                                                                19                                          Counsel for Jeffrey Brandlin,
                                                                                                            Permanent Receiver
                                                                20
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                                                                                                            12                        FEE APPLICATION
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                                                                 1                      DECLARATION OF JEFFREY BRANDLIN
                                                                 2
                                                                 3           I, Jeffrey Brandlin, declare as follows:
                                                                 4           1.    I am the permanent receiver appointed by this Court over
                                                                 5 Elevate Investments, LLC, and its affiliates. I know each of the following
                                                                 6 facts to be true of my own personal knowledge, except as otherwise stated
                                                                 7 and, if called as a witness, I could and would competently testify with respect
                                                                 8 thereto. I make this declaration in support of my first interim application for
                                                                 9 allowance and payment of fees (the "Application"). Unless otherwise
                                                                10 defined in this declaration, all terms defined in the Application are
                                                                11 incorporated herein by this reference.
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                                                                12           2.    Along with my counsel, I went to Elevate's office on December
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                                                                13 28, 2020, the day of my appointment as the temporary receiver, in order to
                                                                14 secure the books and records, preserve electronic data, and to meet with
                                                                15 Elevate's principal, Justin King, and his wife. Concurrent with gaining control
                                                                16 of the business, we gave notice to the financial institutions holding accounts
                                                                17 belonging to Elevate and the Kings of my appointment and the order
                                                                18 freezing accounts. We also requested documents for those accounts in
                                                                19 order to commence the forensic accounting process and to identify
                                                                20 investors. After reviewing Elevate's investment account at Charles Schwab
                                                                21 and understanding the nature of the investments held in that account, I
                                                                22 instructed Charles Schwab to liquidate the investments and obtained
                                                                23 turnover of the proceeds, which totaled $1,581,942. There are several
                                                                24 additional accounts held by the Kings that remain frozen and that I intend to
                                                                25 seek to bring into the receivership estate in the near term.
                                                                26           3.    Shortly after my appointment, I sent an email to investors
                                                                27 regarding the receivership, established a website to provide information with
                                                                28 investors, and fielded inquiries from investors.

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                                                                 1           4.   In the ensuing months, my forensic accounting team and I
                                                                 2 focused on the forensic accounting so that I can quantify how much was
                                                                 3 raised from investors, how much was distributed to investors, how much was
                                                                 4 lost in the market, and how much was dissipated on personal expenses of
                                                                 5 the Kings. We are nearly complete with this analysis.
                                                                 6           5.   Based on the analysis to date, it appears that Elevate took in
                                                                 7 $8,298,985 from investors, distributed $409,525 to investors, lost
                                                                 8 $5,534,576 in the market, and dissipated approximately $2,354,884 of
                                                                 9 investor funds. These amounts remain subject to change because although
                                                                10 the forensic accounting is nearing completion, it is not yet complete. We are
                                                                11 using the information obtained to identify potential clawback actions, mostly
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                                                                12 against third parties who received payments from Elevate for personal
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                                                                13 expenses of the Kings. In the next quarter, I expect to seek approval of a
                                                                14 procedure for investors and creditors to file claims with the receivership
                                                                15 estate.
                                                                16           6.   As of October 31, 2021, and after paying ordinary costs of the
                                                                17 receivership estate, I am holding $1,580,216.99 as reflected in the
                                                                18 Standardized Fund Accounting Report, which goes through October 31,
                                                                19 2021, a true and correct copy of which is attached as Exhibit 1.
                                                                20           7.   In the ordinary course of its business, Brandlin keeps a record of
                                                                21 all time expended by its professionals and para-professionals in the
                                                                22 rendering of professional services on a computerized billing system as
                                                                23 follows: At or near the time the professional services are rendered,
                                                                24 attorneys and other professionals of Brandlin record (a) the description of
                                                                25 the nature of the services performed, (b) the duration of the time expended,
                                                                26 and (c) the client/matter name or number by either: (1) writing such
                                                                27 information on a time sheet, or (2) inputting such information directly into the
                                                                28 Firm's computer billing system. For the professionals who record their time

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                                                                 1                      DECLARATION OF KYRA E. ANDRASSY
                                                                 2           I, Kyra E. Andrassy, declare as follows:
                                                                 3           1.   I am a partner with Smiley Wang-Ekvall, LLP (the "Firm"),
                                                                 4 counsel for Jeffrey Brandlin, the permanent receiver for Elevate
                                                                 5 Investments, LLC. I am licensed to practice before this Court and the courts
                                                                 6 of the State of California. I know each of the following facts to be true of my
                                                                 7 own personal knowledge, except as otherwise stated and, if called as a
                                                                 8 witness, I could and would competently testify with respect thereto. I make
                                                                 9 this declaration in support of the first interim application of the Receiver and
                                                                10 the Firm for allowance and payment of fees and costs (the "Application").
                                                                11 Unless otherwise defined in this declaration, all terms defined in the
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                                                                12 Application are incorporated herein by this reference.
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                                                                13           2.   In the ordinary course of its business, the Firm keeps a record of
                                                                14 all time expended by its professionals and para-professionals in the
                                                                15 rendering of professional services on a computerized billing system as
                                                                16 follows: at or near the time the professional services are rendered,
                                                                17 attorneys and other professionals of the Firm record (a) the description of
                                                                18 the nature of the services performed, (b) the duration of the time expended,
                                                                19 and (c) the client/matter name or number by either: (1) writing such
                                                                20 information on a time sheet, or (2) inputting such information directly into the
                                                                21 Firm's computer billing system. For the professionals who record their time
                                                                22 using written time sheets, the information contained in the time sheets is
                                                                23 then transcribed into the Firm's computer billing system. The Firm's
                                                                24 computer billing system keeps a record of all time spent on a client/matter,
                                                                25 the professional providing the services and a description of the services
                                                                26 rendered. The Firm's computer billing system automatically multiplies the
                                                                27 time expended by each professional by the respective professional's billing
                                                                28

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                                                                 1 rate to calculate the amount of the fee. The Firm conducts its business in
                                                                 2 reliance on the accuracy of such business records.
                                                                 3           3.   I have reviewed the Firm's bill for services rendered in
                                                                 4 connection with its representation of the Receiver in this case, a true and
                                                                 5 correct copy of which is attached hereto as Exhibit 3.
                                                                 6           4.   It is the Firm's usual practice to allocate work and assignments in
                                                                 7 an efficient manner to achieve an effective result. As I believe is
                                                                 8 demonstrated in the Application, the practice has been followed in this case.
                                                                 9           5.   At any time a reimbursable charge is incurred on behalf of a
                                                                10 client, such as photocopy expenses, telecopy charges, and the like,
                                                                11 employees of the Firm keep a written record of the file number for which the
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                                                                12 charges were expended and a brief description of the nature of the expense.
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                                                                13 These records are also transcribed into the computer which, together with
                                                                14 the records of time spent providing professional services, are transcribed
                                                                15 onto monthly bills. The expenses are billed at the Firm's actual cost.
                                                                16           6.   The Firm has no fee sharing arrangement, understanding, or
                                                                17 compensation sharing arrangement with any other entity, and no part of the
                                                                18 attorneys' fees or expenses awarded to the Firm will be paid to any other
                                                                19 entity.
                                                                20           7.   I prepared the Application. To the best of my knowledge,
                                                                21 information and belief, the facts set forth in the Application are true and
                                                                22 correct.
                                                                23           I declare under penalty of perjury under the laws of the United States
                                                                24 of America that the foregoing is true and correct.
                                                                25           Executed on this 4th day of February, at Costa Mesa, California.
                                                                26
                                                                27                                            /s/ Kyra E. Andrassy
                                                                                                              Kyra E. Andrassy
                                                                28

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